UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

PABLITO VEGA,

Plaintiff,
Case No. 23-CV-1357

VS.

COMMUNITY DEVELOPMENT FINANCIAL
INSTITUTION LOCAL INITIATIVES SUPPORT
CORPORATION MILWAUKEE OFFICE,

COMMUNITY DEVELOPMENT FINANCIAL
INSTITUTION MILWAUKEE ECONOMIC
DEVELOPMENT CORPORATION,

Defendants.

CERTIFICATE OF SERVICE

The undersigned, Emily M. Behn, hereby certifies that on today's date she caused a
copy of the following documents to be served on Pablito Vega by U.S. Mail to: 1314 1*

Street, Milwaukee, WI 53204.

4: Notice of Motion and Motion to Dismiss
5. Brief in Support of Motion to Dismiss
6. Declaration of David E. Latona

Dated this 2"4 day of January, 2024.

Amundsen Davis, LLC
Attorneys for Defendant

Emily M. Behn — Electronically signed
By:
Lawrence J. Glusman - State Bar No. 1024507
Emily M., Behn - State Bar No, 1119202

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